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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.          CV18-5934 MWF (KSx)                                           Date   December 17, 2018
 Title             Ox Labs Inc. v. Bitpay, Inc. et al



 Present: The                    Michael W. Fitzgerald, U.S. District Judge
 Honorable
                   Stephen Montes Kerr                                          Amy Diaz
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                        Philip A. Leider                                    Benjamin T. Wang
 Proceedings:                 Scheduling Conference

     Case called and counsel make their appearance. The Scheduling Conference held.
The Court sets dates. Please see separate Order Re Jury Trial, also filed today.




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                                                               Initials of Preparer           SMO




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